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                          UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                  §
  In re:                                          §
                                                  §     Chapter 11
  LOCKWOOD HOLDINGS, INC., et al.,                §
                                                  §     Case No. 18-30197 (DRJ)
             Debtors.                             §
                                                  §     Jointly Administered
                                                  §


                   NOTICE OF REVISED 13-WEEK CASH FLOW BUDGET

            PLEASE TAKE NOTICE that the Debtors hereby file their revised 13-week cash flow

budget for period ending May 5, 2018. A true and correct copy of the budget is attached hereto as

Exhibit “A.”



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            Respectfully submitted this 7th day of February, 2018,

                                                  GRAY REED & McGRAW LLP

                                                  By: /s/ Jason S. Brookner
                                                     Jason S. Brookner
                                                     Texas Bar No. 24033684
                                                  1300 Post Oak Blvd., Suite 2000
                                                  Houston, Texas 77056
                                                  Telephone: (713) 986-7000
                                                  Facsimile: (713) 986-7100
                                                  Email:     jbrookner@grayreed.com

                                                  -and-

                                                     Lydia R. Webb
                                                     Texas Bar No. 24083758
                                                  1601 Elm Street, Suite 4600
                                                  Dallas, Texas 75201
                                                  Telephone: (214) 954-4135
                                                  Facsimile: (214) 953-1332
                                                  Email:      lwebb@grayreed.com

                                                  PROPOSED COUNSEL TO THE DEBTORS

                                     CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 7, 2018, he caused a true and correct
copy of the foregoing pleading to be served via CM/ECF to all parties authorized to receive
electronic notice in this case, and via electronic mail on counsel to the Lenders and the United
States Trustee.

                                                   /s/ Jason S. Brookner
                                                   Jason S. Brookner




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                                      Exhibit “A”

                            Revised 13-Week Cash Flow Budget




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Lockwood Holdings Inc., et al.
Projected Results of Operations and Cash Flows
    2/17/18   thru    5/5/18

                                                            Cash Flow Summary
In Thousands of Dollars
                                              Week ----->                   1                   2              3                 4                5                6              7                  8              9             10            11            12             13
                                                                 17-Feb             24-Feb                3-Mar          10-Mar           17-Mar          24-Mar            31-Mar            7-Apr           14-Apr          21-Apr        28-Apr        5-May         12-May         TOTAL

Receipts
  Customer Payments                                             2,111.8             2,111.8             1,865.2         1,865.2          2,206.6          2,130.7          1,903.1         1,903.1           2,318.1         4,033.9       1,827.2       1,409.9        2,278.0         27,964.4
  Insurance Proceeds                                                 -                   -                   -               -                -                -                -               -                 -               -             -             -              -               -
  Other Cash Receipts                                                -                   -                   -               -                -                -                -               -                 -               -             -             -              -               -

      Total      Receipts                                   $   2,111.8         $   2,111.8         $   1,865.2     $   1,865.2      $   2,206.6      $   2,130.7      $   1,903.1     $   1,903.1       $   2,318.1     $   4,033.9   $   1,827.2   $   1,409.9    $ 2,278.0      $ 27,964.4

Operating Disbursements
  Inventory Purchases                                           1,500.0             1,500.0             1,500.0         1,500.0          1,500.0          1,500.0          1,500.0         1,500.0           1,500.0         1,500.0       1,500.0       1,500.0        1,500.0        19,500.0
  Payroll & Taxes                                                 440.9                78.5               417.3              -             429.1             78.5            417.3              -              420.2            96.0         420.5            -           411.6         3,210.0
  Health & Benefits                                                31.5                  -                171.3              -              30.0               -              30.0           141.3              30.0              -           30.0         141.3           30.0           635.4
  Contract & Temp Labor                                            22.1                22.1                22.1            37.1             22.1             22.1             22.1            22.1              37.1            22.1          22.1          22.1           37.1           332.3
  Rent                                                               -                   -                158.6              -                -                -              72.9           158.6                -               -             -          158.6             -            548.8
  Property Taxes                                                     -                   -                 70.0              -                -                -                -               -                 -               -             -             -              -             70.0
  Utilities                                                        23.0                23.0                23.0            23.0             23.0             23.0             23.0            23.0              23.0            23.0          23.0          23.0           23.0           298.7
  Truck & Equipment Rental                                          4.8                 4.8                 4.8             4.8              4.8              4.8              4.8             4.8               4.8             4.8           4.8           4.8            4.8            62.2
  Maintenance, Repairs & Fuel                                        -                   -                 10.0              -                -                -                -             10.0                -               -             -           10.0             -             30.0
  Supplies & Uniforms                                              22.2                22.2                26.4            22.2             22.2             22.2             22.2            26.4              22.2            22.2          22.2          26.4           22.2           300.9
  Freight                                                          94.7                80.1                80.1           106.3             63.8             63.8             63.8            63.8              63.8            63.8          63.8          63.8           63.8           934.9
  Travel & Entertainment                                             -                 13.4                  -             13.4               -              13.4               -             13.4                -             13.4            -           13.4             -             80.6
  IT Costs                                                          1.9                 3.2                75.0              -                -                -                -             75.0                -               -             -           75.0             -            230.0
  Sales & VAT Tax                                                 370.7                  -                173.3              -                -                -                -            153.5                -               -             -          153.5             -            850.9
  Canadian Taxes                                                  131.2                  -                   -               -                -                -                -               -                 -               -             -             -              -            131.2
  Insurance Premiums                                                 -                   -                 50.5              -                -                -                -             50.5                -               -             -           50.5             -            151.5
  Legal & Professional                                                                                                                                                                                                                                                                       -
  G&A - General                                                     0.1                     -                2.3             -                -                -               0.2               -               0.2              -             -             -              -              2.7

      Total      Operating Disbursements                    $   2,643.0         $   1,747.2         $   2,784.7     $   1,706.7      $   2,094.9      $   1,727.7      $   2,156.2     $   2,242.4       $   2,101.2     $   1,745.3   $   2,086.3   $   2,242.4    $ 2,092.4      $ 27,370.3

                                 Operating Cash Flow        $    (531.2) $           364.5          $    (919.5) $        158.4      $     111.7      $    402.9       $    (253.1) $       (339.3) $          217.0     $   2,288.7   $    (259.0) $     (832.4) $      185.6
                                           Accumulated           (531.2)             (166.7)            (1,086.2)        (927.8)          (816.1)          (413.2)          (666.3)        (1,005.6)          (788.6)        1,500.0       1,241.0        408.5          594.1

Other (Sources)/ Uses
   Equipment Leases                                                                                                                                                                                                                                                                          -
   Capital Expenditures                                                                                                                                                                                                                                                                      -
   Restructuring Costs                                                                                                                                                                                                                                                                       -
   Restructuring Professionals                                      -                   -                  75.0            75.0             75.0            75.0              75.0            75.0              75.0           75.0          75.0          75.0           75.0            825.0
   US Trustee                                                                                                                                                                                                                                                                                -
   Income & Franchise Taxes                                                                                                                                                                                                                                                                  -

      Total      Other (Sources)/ Uses                      $           -       $           -       $      75.0     $      75.0      $      75.0      $     75.0       $      75.0     $      75.0       $      75.0     $     75.0    $     75.0    $     75.0     $     75.0     $      825.0

                                         Net Cash Flow      $    (531.2) $           364.5          $    (994.5) $         83.4      $      36.7      $    327.9       $    (328.1) $       (414.3) $          142.0     $   2,213.7   $    (334.0) $     (907.4) $      110.6
                                           Accumulated           (531.2)             (166.7)            (1,161.2)       (1,077.8)        (1,041.1)         (713.2)         (1,041.3)       (1,455.6)         (1,313.6)         900.0         566.0        (341.5)        (230.9)

                                                Opening                                                                                                                                                                                                                                 Change
        Ending Book Cash Balance $ 3,500.0                  $ 2,968.8           $ 3,333.3           $ 2,338.8       $ 2,422.2        $ 2,458.9        $ 2,786.8        $ 2,458.7       $ 2,044.4         $ 2,186.4       $ 4,400.0     $ 4,066.0     $ 3,158.5      $ 3,269.1      $    (230.9)
